IN THE UNITED STATES DISTRICT COURT

 

FOR THE EASTERN DISTRICT OF VIRGT [ L E
Alexandria Division

 

 

 

 

 

 

 

 

EMMANUEL OGEBE, ) AUG 2.1 2019
)
Plaintiff, ) CLERK, U.S. DISTRICT COURT
) ALEXANDRIA, VIRGINIA
v. ) Civil Action No. 1:19-cv-00426 (LO/IDD)
)
DOW JONES & COMPANY, ef al., )
)
Defendants. )
)
ORDER

This matter is before the Court on Plaintiff's Motion Ex Parte to Subpoena Evidence
from Mrs Deanna Gelak [Dkt. No. 33]. It is hereby

ORDERED that Plaintiff's Motion is DENIED. The Motion is denied for reasons set
forth in Defendants’ Opposition [Dkt. No. 36].

The Clerk is directed to unseal Plaintiff's Motion [Dkt. No. 33] and Exhibit B [Dkt. No.
33-1], so that Defendants can view both filings.

The Clerk is directed to forward copies of this Order to all counsel of record.

ENTERED this 21* day of August 2019.

NOG wv

Ivan D. Davis
United States Magistrate Judge

Alexandria, Virginia
